
Order, insofar as it denies the application of the student petitioners, affirmed. Carswell, Johnston and Sneed, JJ., concur; Hagarty, Acting P. J., and Adel, J., dissent and vote to reverse that part of the order and to grant the application of the student petitioners. Order, insofar as it grants the application of the nonstudent petitioners, affirmed. Hagarty, Acting P. J., Adel and Sneed, JJ., concur; Carswell and Johnston, JJ., dissent and vote to reverse that part of the order and to deny the application of the iionstudent petitioners. Insofar as the order directs the Board of Elections to convene and register those petitioners qualified to be registered as voters, it is affirmed, without costs. No opinion. Motions for leave to appeal to the Court of Appeals granted. Hagarty, Acting P. J., Carswell, Johnston, Adel and Sneed, JJ., concur. [189 Misc. 1020.]
